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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Ciara Vesey
                             Plaintiff,
v.                                                   Case No.: 1:18−cv−01084
                                                     Honorable Elaine E. Bucklo
Envoy Air, Inc.,
                             Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, June 25, 2018:


         MINUTE entry before the Honorable Elaine E. Bucklo: Defendant's motion to
transfer venue [7] is granted. Enter Order. This case is transferred to the Central District of
Illinois, Rock Island Division. All pending dates and motions are terminated as moot.
Civil case terminated. Mailed notice. (mgh, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
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